Case 1:22-cv-00620-ENV-SJB Document 37 Filed 04/04/23 Page 1 of 2 PageID #: 137




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  Case 1:22-cv-00620-ENV-SJB Document 37 Filed 04/04/23 Page 2 of 2 PageID #: 138



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   The Clerk is directed to close this case.




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